             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 1 of 22




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CARISSA L. THOMPSON,
 4004 Alpha St.
 Greenville, TX 75401

                Plaintiff,                                    Case No.: _______________

        v.

 LLOYD J. AUSTIN III, in his official capacity                COMPLAINT
 as Secretary of Defense,
 1000 Defense Pentagon
 Washington, D.C. 20301-1000

 FRANK KENDALL III, in his official capacity
 as Secretary of the Air Force,
 1670 Air Force Pentagon
 Washington, D.C. 20330-1670

 PHYSICAL DISABILITY BOARD OF
 REVIEW
 3351 Celmers Lane
 Joint Base Andrews, MD 20762

                Defendants.


                                        INTRODUCTION

       1.      This is an action for declaratory and injunctive relief brought by Carissa L.

Thompson (“Plaintiff” or “Ms. Thompson”), a former Airman First Class (A1C) in the United

States Air Force (the “Air Force”), against Lloyd J. Austin III, in his official capacity as Secretary

of Defense, Frank Kendall III, in his official capacity as the Secretary of the Air Force, and the

Physical Disability Board of Review (the “PDBR”) (collectively, the “Defendants”). As discussed

below, the Defendants erroneously denied Ms. Thompson’s application for disability retirement

status based on a severe lower back injury that rendered her unfit for continued military service.
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 2 of 22




       2.      Under Chapter 61 of Title 10, when a military department determines that a member

of the U.S. Armed Forces, like the plaintiff, suffers from a disability that renders her unfit for duty,

the department’s Physical Evaluation Board (“PEB”) assigns a disability rating (on a range from

0% to 100%) based on the Schedule for Rating Disabilities (the “VASRD”), 38 C.F.R. § 4.1, et

seq, issued by the Department of Veterans Affairs (the “VA”). In 2008, based on the concern that

the military departments had been underestimating disability ratings, Congress established the

PDBR to conduct independent reviews of those determinations. PDBR decisions are reviewed by

the secretary of the servicemember’s department, and that decision is final and not subject to

further administrative review.

       3.      Servicemembers who are assigned a disability rating of 30% or above are entitled

to status as a “military retiree.” Servicemembers who receive a lower disability rating are deemed

“medically separated.” The distinction is important because certain benefits are granted only to

military retirees. These include military health care (TRICARE) for the retiree and her family,

and continuing military privileges, such as continued access to military bases, commissary

privileges, the right to wear the uniform on appropriate public occasions, space-available travel on

military aircraft, military funeral arrangements, and burial privileges at national cemeteries.

       4.      In April 2005, the Air Force determined that Ms. Thompson’s L1 vertebra

compression fracture was unfitting and assigned her a 10% disability rating under Diagnostic Code

5235, 38 C.F.R. § 4.71a. The Secretary of the Air Force approved that rating one week later, and

Ms. Thompson was medically separated from the Air Force without a disability retirement.

       5.      In the following months, the VA conducted a Compensation and Pension (“C&P”)

examination and assigned Ms. Thompson a disability rating of 40% for the same injury, L1

vertebra compression fracture, under Diagnostic Code 5235. Following the establishment of the




                                                   2
            Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 3 of 22




PDBR, Ms. Thompson sought review of her prior PEB disability rating. Despite the VA’s findings

and other evidence, the PDBR recommended no change on April 29, 2016. That decision was

subsequently approved by the Secretary of the Air Force on June 10, 2016.

       6.      For the reasons explained below, the PDBR’s decision to recommend against any

change to Ms. Thompson’s disability rating was arbitrary, capricious, contrary to law, and

unsupported by substantial evidence.      Specifically, the PDBR ignored clear evidence that

according to the VASRD—which governs the PDBR’s review of disability ratings—Ms.

Thompson’s medical condition warranted a 40% disability rating, which in turn entitled her to a

medical retirement from the Air Force. The PDBR also acted in a manner contrary to law by

failing to follow the VASRD. The PDBR is required by law to follow the VASRD strictly, and

the VASRD requires inter alia that when reasonable doubt arises regarding the degree of disability,

such doubt will be resolved in the favor of the veteran. 38 C.F.R. § 4.3. Moreover, if there is a

question as to which of two evaluations must be applied, the higher evaluation must be assigned if

the disability picture more nearly approximates the criteria required for the higher rating.

38 C.F.R. § 4.7. In approving the PEB’s prior disability rating, the PDBR ignored these important

laws governing its review.

       7.      The PDBR’s and the Air Force’s failure to follow the law has deprived Ms.

Thompson of a permanent disability retirement that would entitle her to medical retiree status and

a host of non-monetary benefits that Ms. Thompson has earned through her honorable service.

                                JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this case

raises federal questions under the Administrative Procedure Act, 5 U.S.C. § 702 et seq.




                                                3
              Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 4 of 22




        9.      Ms. Thompson seeks declaratory and equitable relief in this action, namely, vacatur

of the PDBR’s decision and an order directing the Air Force to place Ms. Thompson on medical

retirement status. The PDBR denied Ms. Thompson’s request for relief, and the Secretary of

the Air Force accepted the PDBR’s recommendation.

        10.     The PDBR’s ruling, upon confirmation by the Secretary, became a final agency

action for which there is no other adequate remedy in a court. See 5 U.S.C. § 704.

        11.     Venue is proper under 28 U.S.C. § 1391(e)(1) because multiple Defendants reside

in this district, and this Court is a “court of competent jurisdiction” under 5 U.S.C. § 703.

                                             PARTIES

        12.     Plaintiff Carissa L. Thompson is a citizen of the United States, a veteran of the

United States Air Force, and a resident of Greenville, Texas.

        13.     Defendant Lloyd J. Austin III is the Secretary of Defense. He is the head of the

Department of Defense, and exercises authority, direction, and control over the Department of

Defense and the PDBR, which makes recommendations regarding veterans’ disability status.

Defendant Austin performs a significant amount of his official duties within this judicial district.

        14.     Defendant Frank Kendall III is the Secretary of the Air Force. He exercises

authority, direction, and control over the Air Force, and he has the authority to review and accept

the PDBR’s recommendation. Defendant Kendall performs a significant amount of his official

duties within this judicial district.

        15.     Defendant PDBR is a joint service review board. The PDBR is located at Joint

Base Andrews in Maryland.




                                                  4
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 5 of 22




                                   FACTUAL ALLEGATIONS

                                Ms. Thompson’s Air Force Service

       16.        Ms. Thompson served honorably as an Airman First Class (E-3) in the United States

Air Force as a Signals Intelligence Analyst from November 25, 2002, to May 23, 2005.

       17.        Ms. Thompson joined the Air Force shortly after graduating from Mesquite High

School, in Mesquite, TX, where she obtained her high school diploma in June 2002. After joining

the Air Force, Ms. Thompson was enrolled in an approximately six-month tech training program

in or around 2003 at the Goodfellow Air Force Base (“AFB”), where she graduated at the top of

her tech class.

       18.        As a Signals Intelligence Analyst, Ms. Thompson’s responsibilities entailed

familiarizing herself with and tracking aircraft that would fly near U.S. nautical borders and

alerting the appropriate commanders of any suspicious activity.

       19.        Due to her exemplary service, Ms. Thompson was awarded an Air Force

Organizational Excellence Award and a Global War on Terrorism Service Medal.

       20.        Prior to her discharge, Ms. Thompson was stationed at Lackland AFB in Lackland,

Texas, and earned and retained the rank of Airman First Class (E-3).

                            The Air Force Disability Evaluation System

       21.        Chapter 61 of Title 10 of the United States Code establishes the process through

which the Armed Services discharges disabled service members.             It authorizes a Physical

Evaluation Board (“PEB”) to discharge military personnel who are found to be unfit for continued

military service due to physical or mental disability.

       22.        The process begins with the Medical Evaluation Board (“MEB”). Service members

may not refer themselves to the MEB; the decision to begin proceedings before the MEB rests




                                                  5
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 6 of 22




entirely with the Air Force. The MEB determines whether a service member has a condition that

is duty-limiting for service. If the MEB determines that a service member has one or more physical

or mental conditions that fall below retention standards, then it refers the service member to a PEB.

       23.     The PEB is responsible for determining a service member’s fitness/unfitness for

duty as a result of a physical or mental disability. A finding of unfitness is required when a

disability rises to the level of interrupting a service member’s career. If the PEB finds a service

member is unfit for duty, then it must assign a percentage disability rating in accordance with

the VASRD from 0% to 100%, in increments of 10%, for each condition. 10 U.S.C. § 1216a.

A disability rating of 30% or higher qualifies the service member for a disability retirement.

       24.     In response to concerns that the military departments were not accurately and

consistently assigning disability ratings, in 2008, Congress established the PDBR as a new federal

agency under the Wounded Warrior Act. See Nat’l Def. Authorization Act for Fiscal Year 2008,

Pub. L. No. 110-181, 122 Stat. 3, tit. XVI, § 1601–1676. As the Chairman of the Veterans’

Disability Benefits Commission explained to the Committee on Armed Services and the

Committee on Veterans’ Affairs in 2007, the military departments frequently assigned lower

disability ratings than the VA, even though both the VA and the military departments

purportedly relied on the same disability rating criteria (i.e., the VASRD).1 He further testified

that, based on data collected by the Veterans’ Disability Benefits Commission, it was “apparent

that [the Department of Defense] has strong incentive to assign ratings less than 30% so that



1
        HEARING TO RECEIVE TESTIMONY ON THE DEPARTMENT OF DEFENSE AND VETERANS
AFFAIRS DISABILITY RATING SYSTEMS AND THE TRANSITION OF SERVICEMEMBERS FROM THE
DEPARTMENT OF DEFENSE TO THE DEPARTMENT OF VETERANS AFFAIRS, S. Hrg. 110–212, at 104
(Apr. 12, 2007) (“While DOD asserts that it follows the VA Schedule for Rating Disabilities, the
instructions issued by DOD and the Services, in effect, change the criteria contained [in] the Rating
Schedule and how the Rating Schedule is applied.”).


                                                 6
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 7 of 22




only separation pay is required and continuing family health care is not provided.”2 During

the legislative process, Senator Carl Levin of Michigan, then Chairman of the Armed Services

Committee, acknowledged this ongoing problem and stated that the bill would establish “an

independent board to review and, where appropriate, correct unjustifiably low Department of

Defense disability ratings awarded since 2001.”3

       25.     The PDBR has jurisdiction to review the applications of veterans who were

medically separated between September 11, 2001, and December 31, 2009, with a disability

rating under 30%. 10 U.S.C. § 1554a(a)–(b). Upon review, the PDBR makes recommendations

to the service secretary concerning whether a determination should be confirmed or modified.

Id.   The PDBR’s decision may be accepted or rejected by the relevant service secretary.

Department of Defense (“DoD”) Instruction 6040.44. The Secretary’s decision is considered

to be a final agency decision. See id. at 7.

       26.     Department of Defense (“DoD”) Instruction 6040.44 governs the PDBR’s

review. The instruction provides that “[t]he purpose of the PDBR shall be to reassess the accuracy

and fairness of the combined disability ratings assigned Service members who were discharged

. . . with a combined disability rating of 20 percent or less and were not found to be eligible for

retirement.” DoD Instruction 6040.44 further requires the PDBR to “[u]se the VASRD in arriving

at its recommendations, along with all applicable statutes, and any directives in effect at the time

of the contested separation (to the extent they do not conflict with the VASRD in effect at the time

of the contested separation).” DoD Instruction 6040.44, Enclosure 3 § 4(d); see also 1. The PDBR

must strictly follow the VASRD, and may add criteria only “if the utilization of such criteria



2
       Id. at 104.
3
       153 Cong. Rec. S. 9857, 9858 (July 25, 2007).


                                                 7
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 8 of 22




will result in a determination of a greater percentage of disability than would be otherwise

determined through the utilization of the schedule.” 10 U.S.C. § 1216a(a)(2).

       27.     The VASRD mandates that any reasonable doubt arising regarding the degree of

the disability must be resolved in the veteran’s favor and that where there is a question as to which

of two evaluations shall be applied, the higher evaluation will be assigned if the disability picture

more nearly approximates the criteria for that rating. 38 C.F.R. §§ 4.3, 4.7. In addition, the

VASRD requires that any disability examination like Ms. Thompson’s, for which range of motion

is at issue, must denote, among other things, the functional loss resulting from pain throughout the

range of motion. See 38 C.F.R. § 4.40 (defining “disability” as “the inability, due to damage or

infection in parts of the [musculoskeletal] system, to perform the normal working movements of

the body with normal excursion, strength, speed, coordination and endurance” and noting that

“functional loss . . . may be due to pain, supported by adequate pathology and evidenced by the

visible behavior of the claimant undertaking the motion”); see also 38 C.F.R. § 4.59 (“The intent

of the schedule is to recognize painful motion with joint or periarticular pathology as productive

of disability.”). Where a medical examination report fails to denote functional loss due to pain, it

is inadequate for rating purposes and “the adjudicator is required to “return the report as inadequate

for evaluation purposes.” 38 C.F.R. § 4.2 (1994); see also DeLuca v. Brown, 8 Vet. App. 202,

205–06 (1995) (rejecting Board’s reliance on examination that “merely recorded the veteran’s

range of motion” without addressing functional loss due to pain upon motion).

                 Ms. Thompson’s In-Service Medical History and Discharge

       28.     On July 31, 2003, shortly after her nineteenth birthday and just under nine months

into her career, Ms. Thompson sustained a serious back injury while riding as a passenger on a




                                                  8
               Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 9 of 22




two-person all-terrain vehicle. Ms. Thompson was thrown off the ATV and the ATV landed on

top of her, causing an L1 compression fracture.

         29.    Ms. Thompson was hospitalized for two weeks, placed in a large brace, and

prescribed narcotics for her pain. She suffered an L1 burst fracture, which caused severe back

pain.4

         30.    On September 4, 2003, Ms. Thompson was placed on a temporary physical

“profile” due to her back condition.5 This meant that her duties were adjusted in response to the

acknowledged physical limitations.        Ms. Thompson’s profile indicated that she was not

“worldwide qualified,” meaning that she was not eligible for worldwide assignability or global

deployment. See generally Frey v. United States, 112 Fed. Cl. 337, 344 (2013). Through

December 7, 2003, Ms. Thompson was required to wear a back brace, including while sitting,

standing, or walking. She was also restricted from running, lifting, and prolonged standing.

         31.    On September 15, 2003, Ms. Thompson’s profile was upgraded to indicate that she

was worldwide qualified, but she remained restricted from running, jumping, climbing, crawling,

repeated bending, repeated twisting, engaging in ergometry testing, and engaging in sports. Her




4
         “A burst fracture is an injury in which the vertebra, the primary bone of the spine, breaks
in multiple directions. . . . A burst fracture usually results from significant trauma that compresses
the bone, such as a motor vehicle accident or a severe fall. Burst fractures account for 14% of
all spinal injuries.” Columbia University Irving Medical Center, BURST FRACTURE,
https://www.neurosurgery.columbia.edu/patient-care/conditions/burst-fracture.
5
        “Medical profiles are given to servicemembers who[ ] either injure themselves or have
become ill and cannot perform all physical activities. These profiles are used to recover from
illness and injury, and limit the servicemember from performing physical tasks that could hinder
their recovery.” Mariah Haddenham (Air Force Medical Service), SERVICEMEMBERS AND
MEDICAL PROFILES (Oct. 31, 2012), https://www.airforce-medicine.af.mil/News/Display/Article/
425922/servicemembers-and-medical-profiles/.



                                                  9
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 10 of 22




profile restricted her from lifting anything greater than 15 lbs. and standing more than 15 minutes

per hour.

       32.     On September 25, 2003, Ms. Thompson attended a Physical Therapy Consultation,

where the examiner noted that the lumbosacral spine range of motion (sometimes referred to as

“ROM”) for the forward flexion could tolerate 15 degrees.6

       33.     On October 21, 2003, Ms. Thompson attended an orthopedic spine appointment

during which the examining physician noted that she was limited in flexion to 30 degrees before

she experienced pain in the L5 region.7 The examiner noted that Ms. Thompson was taking four

to six Vicodin per day and that she wore a back brace. The examiner did not specify whether Ms.

Thompson wore the brace during the exam.

       34.     On October 31, 2003, Ms. Thompson’s profile was downgraded to restrict her from

working more than four hours per day and preclude her from running, high impact activity,

strenuous activity, and any heavy lifting greater than 20 lbs.

       35.     On April 1, 2004, Ms. Thompson’s restrictions continued. Her profile indicated

that she was not worldwide qualified and restricted her to a four-hour duty day. She was restricted

from running and jumping. She was not medically cleared for timed runs, push-up assessments,

crunch assessments, ergometry assessments, or a one-mile walk test. Ms. Thompson remained not

worldwide qualified in her subsequent profiles up until her discharge in May 2005.



6
       See National Institutes of Health, MedlinePlus Medical Encyclopedia, LUMBOSACRAL
SPINE X-RAY (The lumbosacral spine” is the “lower part of the spine,” including “the lumbar region
and the sacrum, the area that connects the spine to the pelvis.”), https://medline-
plus.gov/ency/article/003807.htm.
7
       The “L5” region is the lowest vertebrae of the lumbar spine. Cleveland Clinic, SPINE
STRUCTURE AND FUNCTION, https://my.clevelandclinic.org/health/articles/10040-spine-structure-
and-function.



                                                 10
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 11 of 22




       36.     On June 11, 2004, Ms. Thompson attended an orthopedic spine clinic appointment.

The examiner noted that Ms. Thompson had been “weaned” off the use of a back brace and had a

full range of motion at the time. But the examiner also found that she remained in severe pain,

and the examiner discussed potential surgical treatment options with Ms. Thompson. Importantly,

the examiner never noted where the pain began when taking range of motion measurements.

       37.     The following month, following an examination on July 26, 2004, an Air Force

Medical Examination Board (the “MEB”) examiner evaluated Ms. Thompson. Although the

examiner found full range of motion for her spine, the examiner also noted that she suffered

significant pain at the level of her L1 vertebra compression fracture. The MEB examiner failed to

note where Ms. Thompson’s pain began when taking range of motion measurements. The

examiner noted that she was not fit for worldwide duty due to the pain caused by her compression

fracture. He assigned her a level 4 on the PULHES grading system for her lower extremities that

also includes the lower back, which indicated that her condition was below the level of medical

fitness required for service.8

       38.     On October 1, 2004, Ms. Thompson’s profile for her back continued to restrict her

to a four-hour duty day and maintained her status as not worldwide qualified. These restrictions

continued as depicted in her profile on December 2, 2004, which further added that she was not

medically cleared for unit physical training (“PT”), a timed run, a push-up assessment, a crunch

assessment, and an ergometry assessment.




8
        “[T]he ‘PULHES’ profile reflects the overall physical and psychiatric condition of the
veteran’s capacity and stamina (‘P’); upper extremities (‘U’); lower extremities (‘L’); hearing
(‘H’); eyes (‘E’) and psychiatric condition (‘S’) assessed on a scale of 1 (high level of fitness) to
4 (a medical condition or physical defect which is below the level of medical fitness for retention
in the military service).” No. 09-27 741A, 2021 WL 6211003 (Bd. Vt. App. Nov. 1, 2021).



                                                 11
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 12 of 22




       39.     On December 13, 2004, Ms. Thompson went to the Pain Medical Clinic where a

medical examiner noted that she was limited to 20 degrees of forward flexion. Further, the

examiner noted that Ms. Thompson’s pain was exacerbated by activity including walking and

standing and that her pain had worsened over the past six months. Shortly after the examination—

in or around December 2004 and January 2005—Ms. Thompson was placed on convalescent leave

due to her extreme back pain.

       40.     On January 31, 2005, Ms. Thompson’s profile for her back continued to restrict her

to a four-hour duty day. She was restricted from lifting anything over five pounds and she was not

cleared for unit PT, a timed run, a push-up assessment, a crunch assessment, a walk test, or an

ergometry assessment.

       41.     Ms. Thompson attended another orthopedic clinic appointment on February 1,

2005. The examiner noted that Ms. Thompson’s pain continued, and worsened with activity, but

did not make any finding with respect to her range of motion or where pain began in her range of

motion at that time. The examiner also reviewed potential surgical options. Thereafter, Ms.

Thompson attempted to reduce her pain medication dosage, but the reduction made her pain

unmanageable.

       42.     On February 17, 2005, as Ms. Thompson’s back pain was increasing, the MEB

referred Ms. Thompson to the PEB. The following day, facing unbearable back pain, Ms.

Thompson requested an increase in prescribed Fentanyl while she awaited possible back surgery.

       43.     On April 6, 2005, the PEB confirmed the MEB’s finding, and found Ms. Thompson

unfit for duty due to her Compression Fracture L1 vertebra, under Diagnostic Code 5235,

38 C.F.R. § 4.71a. The PEB assigned Ms. Thompson a rating of 10% for her condition. Under

code 5235, a rating of 10% is warranted for forward flexion of the spine greater than 60 degrees,




                                               12
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 13 of 22




but less than 85 degrees. The result of Ms. Thompson’s 10% disability rating was a medical

separation with a severance payment, not a medical retirement or any of the attendant benefits of

medical retirement.

       44.     On April 12, 2005, the Secretary of the Air Force approved the PEB’s finding and

directed Ms. Thompson’s separation from the Air Force. See 10 U.S.C. § 1203. Ms. Thompson’s

separation became effective on May 23, 2005.

                      Ms. Thompson’s Post-Discharge Medical History

       45.     On August 3, 2005, Ms. Thompson attended a VA Compensation and Pension

(“C&P”) examination (“C&P Exam”). A C&P examination occurs if a service member files a

compensation or pension claim and the VA relies on it to determine whether the disability is

service-connected, the level of the disability, or whether the condition has worsened.9

       46.     At the exam, Ms. Thompson reported constant, stabbing pain in her back despite

wearing a brace and taking narcotic pain medication. Further, at the exam, she was in a wheelchair

and reported suffering from constant lower back pain, every day, for 24 hours. She explained that

at times, she experienced “stabbing type pain,” which “radiate[d] to both buttocks, to posterior

legs, [and] to the knees.” At her C&P exam, the examiner took range of motion measurements of

Ms. Thompson’s spine and noted that she was wearing a back brace. Despite indicating that it

was difficult to examine Ms. Thompson because she was wearing a back brace, the examiner was

able to take range of motion measurement sufficient for VASRD rating purposes and reported that

she was “very limited in all ranges of motion.” The examiner noted that Ms. Thompson’s

“[f]orward flexion goes from 0 to 30 degrees with pain in the entire lumbar spine at 30 degrees,



9
       See VA Claim Exam Fact Sheet, https://www.benefits.va.gov/COMPENSATION/
docs/claimexam-factsheet.pdf.



                                                13
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 14 of 22




minus 60 degrees secondary to pain.”. Importantly, the examiner, as required by the VASRD,

indicated that the Ms. Thompson suffered from 60 degrees of functional loss due to pain, limiting

her range of motion effectively to 30 degrees. Moreover, the examiner did not provide any

indication that the back brace impaired these range of motion measurements.

       47.     At the time of her August 2005 C&P exam, Ms. Thompson reported that she could

not work because of her condition. In fact, Ms. Thompson reported her physical activity was

limited to walking to and from the bathroom, her pain had continued to worsen, and she had eight

incapacitating episodes that past year.

       48.     At the time, Ms. Thompson managed her back pain with different medications,

including Morphine patches, Flexeril, Naproxen, and hydrocodone.

       49.     The VA issued initial ratings on August 25, 2005, conferring a rating of 40% for

residuals, L1 fracture under Diagnostic Code 5235, 38 C.F.R. 4.71a. Under code 5235, a 40%

rating is warranted for forward flexion of the thoracolumbar spine that is 30 degrees or less. The

rating was based on the available medical evidence, including Ms. Thompson’s military medical

records and the C&P Examination.

       50.     Because of Ms. Thompson’s incapacitating back condition and pain, she continued

to seek care from the VA and from physical therapy. On September 12, 2005, during a visit to a

VA staff physician, she reported increased back pain despite the use of a fentanyl patch and

requested a wheelchair since her condition significantly impaired her mobility. At the time,

although she had her own place of residence, she had to reside with a family member in her family

member’s residence due to the pain and debility.

       51.     On October 7, 2005, during an appointment with a VA physical therapist, Ms.

Thompson advised that her back pain had been getting worse and she had difficulty walking due




                                               14
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 15 of 22




to the pain. The physical therapist observed that Ms. Thompson could “benefit from [a front

wheeled rolling walker] for ambulation for short distances and a manual [wheelchair] to enable

[her] to have access into the community.”

       52.     On March 17, 2008, Ms. Thompson attended another C&P examination where the

examiner found Ms. Thompson’s flexion to be less than 10 degrees (more in the range of 5

degrees), with pain noted on all motions. The VA retained the 40% rating for the condition.

                              Physical Disability Board of Review

       53.     Following the passage of the Wounded Warrior Act, on November 19, 2013, Ms.

Thompson requested that the PDBR review the discrepancy between her VA and PEB ratings.

The PDBR reviewed the evidence that Ms. Thompson was medically separated for compression

fracture L1 vertebra condition and, in a decision issued on June 10, 2016, recommended no change

in the PEB finding of a disability rating of 10%.

       54.     In reaching that decision, the PDBR relied on the July 2004 MEB examination and

orthopedic spine examinations in June 2004 and February 2005. The PDBR rejected the August

2005 and March 2008 C&P examinations and other examinations from September 25, 2003,

October 21, 2003, and December 13, 2004, that clearly support a 40% rating. The PDBR found

that the 10% rating was appropriate based on the July 26, 2004 MEB examination, which

concluded that Ms. Thompson had a full range of movement of the spine, even though this

conclusion was made approximately 10 months before her separation from the military, and even

though the examination failed to comply with the VASRD because it did not mention where pain

began upon movement.




                                                15
              Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 16 of 22




        55.     At least three other in-service examinations from September 25, 2003, October 21,

2003, December 13, 2004, as well as the VA examination in August 2005, contradicted the 10%

disability rating.

        56.     The PDBR decision considered the March 17, 2008 C&P examination, but the

decision completely disregarded the examiner’s actual range of motion finding during that exam

and focused instead on the fact that “a recent magnetic resonance imaging showed a 50%

compression fracture of L1, which was healed and stable.”

        57.     The PDBR found that the orthopedic examination conducted on February 1, 2005,

which as noted above did not document Ms. Thompson’s range of motion, supported the

conclusion that her thoracolumbar spine was within functional limits.10

        58.     In attempting to reconcile its findings with the August 2005 C&P exam, the PDBR

determined that Ms. Thompson’s range of motion “obtained while in a brace designed to restrict

ROM was not useful for the purpose of providing a rating according to the VASRD and, therefore

[the PDBR] placed greater probative value on the orthopedic exams in June 2004 and February

2005 for its rating recommendation.” Yet the VA relied on this exam to award Ms. Thompson a

40% rating pursuant to the VASRD, and there was no indication in that finding that the back brace

had prevented an accurate measurement. Moreover, the PDBR failed to discuss other evidence

confirming that the ROM found during the August 2005 C&P exam was consistent with the March

2008 C&P examination and examinations from September 25, 2003, October 21, 2003, and

December 13, 2004.




10
        University of Southern California Spine Center, THORACOLUMBAR SPINE FRACTURES
(“Thoracolumbar” refers to the “thoracic (middle) [and] lumbar (lower back) region of the spine.”),
https://www.uscspine.com/conditions-treated/back-disorders/thoracolumbar-spine-fractures/.



                                                16
               Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 17 of 22




       59.       The PDBR not only ignored those examinations, but also improperly relied on a

June 11, 2004 orthopedic examination. This exam indicated that she had a “full range of motion”

at the time without indicating where in the range of motion the pain began. This medical note is

not probative of Ms. Thompson’s disability because, although Mr. Thompson had been weaned

off the back brace at the time, she later started wearing a brace again. In other words, her condition

had degenerated after this examination. Moreover, this medical examination was only minimally

probative of Ms. Thompson’s condition at the time of separation, because it took place nearly one

year before.

       60.       The PDBR’s decision to rely on the July 2004 examination (as well as the June

2004 exam, which did not indicate where in the range of motion pain began, and the February

2005 exam, which did not include a range of motion measurement) was arbitrary and capricious

and contrary to law. The available medical evidence, considered in its totality, including the

December 2004 examination and the C&P examinations in August 2005 and March 2008, clearly

established that a 40% rating was warranted. The PDBR did not consider or explain all of the

relevant evidence, and there was not substantial evidence to support its findings. Additionally,

contrary to the PDBR’s assertion, the August 2005 C&P Examination, and the VA’s subsequent

use of this range of motion measurement, do not indicate that the examiner’s range was insufficient

for VASRD rating purposes. Therefore, it was arbitrary and capricious and contrary to law for the

PDBR to find that a 10% disability rating was appropriate.

       61.       The examination undertaken closest in time to Ms. Thompson’s separation from

the Air Force supports a 40% disability rating, as do the totality of the other examinations

conducted both before and after Ms. Thompson’s separation.




                                                 17
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 18 of 22




       62.     Ultimately, the PDBR rejected the range of motion finding made at the August 2005

C&P Examination based on an unfounded assumption without objective evidence. The PDBR

also cherry-picked the examinations that could have supported that rating. As a result, the PDBR

arbitrarily and capriciously deprived her of the designation and benefits to which she is entitled

under law.

       63.     On June 10, 2016, the Assistant Secretary of the Air Force, on behalf of the

Secretary, accepted the PDBR’s recommendation that Ms. Thompson’s application be denied.

       THE PDBR’S DECISION THAT WAS ARBITRARY AND CAPRICIOUS,
     UNSUPPORTED BY SUBSTANTIAL EVIDENCE, AND CONTRARY TO LAW

       64.     As part of its review of the disability rating, the PDBR is required to follow the

VASRD strictly.

       65.     The PDBR’s decision to uphold the PEB’s 10% disability rating was arbitrary,

capricious and contrary to law because it gave weight to inadequate examinations; those exams

lacked any mention of where pain began or of the functional loss caused by such pain, and/or failed

to mention range of motion at all. Additionally, the PDBR’s decision failed to properly analyze

Ms. Thompson’s other medical examinations supporting a disability rating of at least 40% for her

back disability that contradicted the evidence relied upon by the PDBR for its findings.

       66.     The PDBR also acted arbitrarily, capriciously, and contrary to law when it rejected

the August 2005 C&P Exam in which Ms. Thompson presented with 30 degrees of forward flexion

based on speculation that the C&P Exam’s report of limitation of range of motion was “not useful”

due to the back brace worn during the exam. The PDBR’s assertion ignores that the VA did in

fact find that range of motion probative for VASRD purposes and that there is no evidence that

the back brace affected Ms. Thompson’s range of motion. In fact, the PDBR’s decision to use Ms.

Thompson’s back brace to discount the VA’s range of motion measurements violates the mandate



                                                18
              Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 19 of 22




set forth in 10 U.S.C. § 1216a(a)(2) that the military strictly follow the VASRD and only use

additional criteria in making a rating where “such criteria will result in a determination of a greater

percentage of disability than would be otherwise determined through the utilization of the

schedule.” Further, the PDBR ignored pertinent information in the form of a December 13, 2004

opinion from a Pain Medical Clinic visit during which Ms. Thompson demonstrated 20 degrees of

forward flexion.

       67.        The PDBR concluded that its “[m]embers placed greater probative value on the

orthopedic exams in June 2004 and February 2005 for its rating recommendation.” However,

given that:

                 the C&P Exam was closer in time to Ms. Thompson’s separation than the July 2004
                  exam;

                 the C&P Exam was closer in time to Ms. Thompson’s separation than the June 2004
                  exam;

                 the C&P Exam was corroborated by the December 2004 Air Force examination,
                  which found that Ms. Thompson demonstrated 20 degrees of forward flexion;

                 the C&P Exam was a more thorough and relevant examination than the July 2004
                  and February 2005 orthopedic examination because it actually included proper
                  range of motion measurements and noted where pain began and the functional loss
                  due to pain; and

                 the VA determined that the C&P Exam was adequate for rating purposes such that
                  if the back brace or aspects of the Exam were improper then the VA would have
                  made such a finding and not relied upon the C&P Exam for rating purposes,

the PDBR’s reliance on the June 2004, July 2004, and February 2005 examinations to the exclusion

of the December 2004 and August 2005 examinations was arbitrary and capricious. The PDBR

did not rationally explain why it had credited those earlier examinations and discounted the latter

ones. Based on the available record before it, and the governing legal standard, the PDBR was

obligated to overturn the PEB’s decision and grant Ms. Thompson a 40% disability rating and

medical retirement.


                                                  19
             Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 20 of 22




       68.     The PDBR’s contrary decision was arbitrary and capricious, unsupported by

substantial evidence, and contrary to law because the PDBR failed to follow the requirements of

the VASRD when deciding whether a 10% or 40% disability rating was appropriate for Ms.

Thompson’s back disability.      The rating criteria for the spine is based primarily on ROM

measurements. The record before the PDBR clearly established that, at the time of her separation,

Ms. Thompson’s ROM for her spine was 30 degrees or less, warranting a disability rating of 40%

under 38 C.F.R. § 4.71a. The VASRD requires that when reasonable doubt arises regarding the

degree of disability, such doubt will be resolved in the favor of the veteran. 38 C.F.R. § 4.3.

Moreover, if there is a question as to which of two evaluations must be applied, the higher

evaluation must be assigned if the disability picture more nearly approximates the criteria required

for the higher rating. 38 C.F.R. § 4.7.

       69.     In other words, the PDBR violated the VASRD and improperly failed to consider

substantial evidence relating to Ms. Thompson’s disability, including inter alia the Air Force

examination on December 13, 2004 and the August 2005 and March 2008 C&P Exams, which

both strongly support a disability rating of at least 40% under the VASRD.

       70.     Had the PDBR and the Secretary properly applied the VASRD, Ms. Thompson

would have received a disability rating of 30% or greater, which would have entitled her to

permanent disability medical retirement.

           COUNT I: VIOLATION OF ADMINISTRATIVE PROCEDURE ACT
                             (5 U.S.C. § 706(2)(A))

       71.     Plaintiff incorporates the allegations in paragraphs 1 through 71 above.

       72.     The PDBR acted arbitrarily and capriciously by affirming the flawed decision of

the PEB and rendering a decision that was not well supported by the evidentiary record. Instead,

the PDBR relied on irrelevant facts and two limited examinations while ignoring other pertinent



                                                20
              Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 21 of 22




facts and evidence that accurately show Ms. Thompson’s disability picture, to support its decision

that a 10% rating was more probative of Ms. Thompson’s injury at separation than the VA’s Rating

Decision.

        73.     The PDBR’s decision is also contrary to law because it violates provisions of the

VASRD, including 38 C.F.R. §§ 4.3, 4.4, 4.7, 4.59, and 4.71a.

        74.     Ms. Thompson has suffered a legal wrong as a result of the PDBR’s arbitrary and

capricious decision, because she was deprived of her right to a meaningful review from the PDBR.

The PDBR’s incorrect decision caused Ms. Thompson to remain with the incorrect designation of

medical separation from the Air Force. As a result, Ms. Thompson was deprived of a discharge

status that her serious disability and honorable service warrant: medical retirement.

        75.     Ms. Thompson volunteered to serve our country in a time of great need. She did

so honorably, receiving commendations for her exemplary service.

        76.     The PDBR exists to correct injustices by ensuring the accuracy and fairness of

disability ratings. The PDBR failed to meet that mission here, and the Secretary similarly erred

by accepting that judgment. Awarding Ms. Thompson medical retirement status would correct the

injustice caused by the PDBR’s arbitrary and capricious decision of approving the PEB’s earlier

determination. Accordingly, Ms. Thompson should be awarded a medical retirement.

                                    PRAYER FOR RELIEF

        Plaintiff respectfully requests that this Court enter judgment against the Defendants and

award the following relief:

   a.       Find that the PDBR’s determination, and the Air Force’s decision to adopt the PDBR’s
            determination, were arbitrary and capricious, unsupported by substantial evidence, and
            contrary to law;

   b.       Issue an Order vacating the PDBR’s determination and the Air Force’s decision to adopt
            the PDBR’s determination;



                                                21
          Case 1:22-cv-01090 Document 1 Filed 04/19/22 Page 22 of 22




  c.    Issue an Order to amend Ms. Thompson’s records to reflect a disability rating of 40%;

  d.    Issue an Order to amend Ms. Thompson’s Air Force records—including without
        limitation her DD Form 214 and her retirement orders—to reflect a permanent medical
        retirement;

  e.    Declare, under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202, that the PDBR
        has violated the Administrative Procedure Act;

  f.    Award Plaintiff costs and attorneys’ fees under 28 U.S.C. § 2412; and

  g.    Grant any other relief the Court deems proper.


Dated: April 19, 2022                      Respectfully submitted,

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                                            22
